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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ROBERT (BOB) ROSS,                            §
                                              §
    Plaintiff/Counterclaim Defendant,         §
                                              §
v.                                            §       Civil Action No. 4:22-cv-000343-Y
                                              §
ASSOCIATION OF PROFESSIONAL                   §
FLIGHT ATTENDANTS                             §
MCGAUGHEY, REBER AND                          §
ASSOCIATES, INC, JULIE                        §
HEDRICK, AND ERIK HARRIS,                     §
                                              §
    Defendants/Counterclaim Plaintiff.        §



             JOINT STATUS REPORT AND PROPOSED DISCOVERY PLAN

         Pursuant to the Court’s Order of July 7, 2022 (doc. 26) and in accordance with Rule 26(f)

of the Federal Rule of Civil Procedure (“FRCP”), counsel for Plaintiff/Counterclaim Defendant

Robert (Bob) Ross (“Plaintiff”), counsel for Defendant/Counterclaim Plaintiff Association of

Professional Flight Attendants (“APFA”) and for Defendants Julie Hedrick and Erik Harris

(collectively, “Union Defendants”), and counsel for Defendant McGaughey, Reber and

Associates, Inc. (“Defendant McGaughey”), conferred on July 21, 2022,1 and now jointly file this

status report and proposed discovery plan. Each of the subjects listed under Part B. of the Court’s

Order is addressed in separately numbered paragraphs below.



1
 The conference was conducted by video conference. Heather Abreu participated in the
conference as counsel for Plaintiff Robert (Bob) Ross (“Plaintiff”), Sanford R. Denison, and
Margot A. Nikitas, participated in the conference on behalf of Union Defendants APFA, Julie
Hedrick and Erik Harris, and Michael R. Rake participated in the conference on behalf of
Defendant McGaughey.


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                              JOINT STATUS REPORT TOPICS

1.      Statement of the Nature of the Case and Contentions of the Parties.

               This case arises from internal union charges by APFA members filed against

        Plaintiff Robert (Bob) Ross, filed pursuant to the APFA Constitution, for alleged financial

        misconduct during his tenure as National President of APFA, resulting in a Decision and

        Order by Arbitrator Ruben Armendariz (“Decision and Order”).

        A.     Plaintiff’s Statement of Contentions:

               Plaintiff Ross alleges the following:

               1)      An Arbitration Award was procured in violation of Federal Arbitration Act,

                       section 10. Plaintiff moves the court to vacate it on the basis that the

                       Defendants withheld pertinent evidence to the claims at issue in the

                       arbitration, the award was procured by fraud, or undue means, there was

                       arbitrator bias and misconduct, and the arbitrator exceeded his powers.

               2)      Plaintiff asserts that Defendants failed to provide a full and fair hearing to

                       Plaintiff during Plaintiff’s Arbitration which establishes a violation of the

                       Labor Management Reporting Disclosure Act §101(a)(5) as the union and

                       its officers failed to afford Plaintiff the opportunity to have a full and fair

                       hearing.

               3)      Plaintiff asserts that the union officers breached their fiduciary duty to the

                       Plaintiff in failing to disclose documents pertinent to Plaintiff’s Arbitration

                       in violation of federal Labor laws and Texas Common Law.




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         4)     Plaintiff asserts Defendants breached the Union’s Constitution provisions on

                protecting the privacy, maintaining due process and equal representation of

                its members.

                Plaintiff/Counter-defendant Ross’s Defenses to the Counterclaim are that

         the Arbitrator’s decision cannot be enforced, as it was procured by fraud, there was

         arbitrator bias and arbitrator misconduct, and the arbitrator exceeded his powers.

         Plaintiff/Counter-defendant maintain that they did not breach their fiduciary duties.

         Further, they maintain that the Defendant/Counter Plaintiff has exceeded the statute

         of limitation on their claims.

   B.    Union Defendants’ Statement of Contentions:

                Union Defendants’ Defenses: As their affirmative defenses, the Union

         Defendants, in addition to denying most of Plaintiff’s factual assertions, assert the

         following:

         1)     Plaintiff’s suit to vacate the Decision and Order of Arbitrator Armendariz

                is specifically premised upon a single basis for assertion of subject matter

                jurisdiction – Section 101(a)(5) of the Labor Management Reporting and

                Disclosure Act (“LMRDA”), 29 U.S.C. §411(a)(5) – which does not

                provide subject matter jurisdiction for judicial review of the Arbitrator’s

                Decision and Order;

         2)     Plaintiff’s various challenges to the merits of the Arbitrator’s Decision and

                Order, both direct and implicit, violate the federal labor law axiom that,

                except in rare circumstances not alleged or present here, the courts defer to

                arbitration decisions;


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         3)     The arbitration process in this case, as governed by the APFA Constitution,

                is likewise subject to, and protected by the federal principle of judicial

                noninterference in internal union governance;

         4)     Several of Plaintiff’s allegations are indirect challenges to the Arbitrator’s

                Decision and Order and/or the Arbitrator’s continuing jurisdiction over the

                remedial process and are therefore preempted under settled labor law

                principles;

         5)     Plaintiff’s filing of this lawsuit violated the mandatory precondition in the

                APFA Constitution requiring exhaustion of internal union remedies before

                filing suit; and

         6)     Defendants Hedrick and Harris, as national officers of the Union, are not

                proper parties in this lawsuit.

                Union Defendants’ Counterclaims: As counterclaims to Plaintiff’s suit,

         Defendant APFA has asserted the following:

         1)     For the Court’s enforcement of the Decision and Order of Arbitrator

                Armendariz pursuant to Section 301(a) of the Labor Management Relations

                Act, 29 U.S.C. §301(a);

         2)     For breach of fiduciary duty by Plaintiff Ross under Section 501(a) of the

                LMRDA, 29 U.S.C. §501(a), for his financial misconduct as National

                President of the APFA, as determined by the Arbitrator’s Decision and

                Order; and




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                3)      For breach of fiduciary duty by Plaintiff Ross under Texas common law for

                        his financial misconduct as National President of the APFA, as determined

                        by the Arbitrator’s Decision and Order.

        C.      Defendant McGaughey Statement of Contentions:

                (1)     Defendant sets forth its contentions in its Original Answer and repeats those

                        contentions as follows: Defendant admits it published to credit reporting

                        agencies that Plaintiff was in collections. Plaintiff did dispute the debt, but

                        Defendant has no knowledge of when Plaintiff discovered the debt. After

                        Plaintiff disputed the debt, and Defendant properly investigated the debt and

                        Plaintiff’s dispute. The debt was verified by APFA and confirmed that the

                        debt was valid.      Plaintiff was provided with and sent all available

                        information Defendant had at the time; and

                (2)     Plaintiff’s own statement exonerates Defendant’s liability and therefore,

                        Defendant denies that it violated any terms of the Fair Credit Reporting Act.

2.      Jurisdiction and Venue.

                There are no challenges to venue.

                Plaintiff does not challenge the Court’s jurisdiction over the claims and causes of

        action asserted by the parties to this case.

                The Union Defendants, for the reasons set forth in their statement of defenses to

        Plaintiff’s claims in paragraph 1.B above, and in their pending motion to dismiss (doc. 27)

        filed on July 21, 2022, challenges the Court’s jurisdiction over Plaintiff’s claims premised

        on the LMRDA, 29 U.S.C. §411(a)(5) – as that statute provides no subject matter

        jurisdiction for judicial review of the Arbitrator’s Decision and Order. The Union


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        Defendants also challenge the Court’s jurisdiction over Plaintiff’s claims against

        Defendants Julie Hedrick and Erik Harris, because under §301(b) of the LMRA, 29 U.S.C.

        §301(b), individual union officers are not personally liable for acts in their capacity as

        union officers, in which capacity they have been sued herein.

                Defendant McGaughey does not challenge the Court’s jurisdiction over the claims

        and causes of action asserted by the parties to this case.

3.      Matters Requiring Conference with the Court.

                There are no matters which require conference with the Court at this time.

4.      Likelihood That Other Parties Will Be Joined.

                It is not anticipated that additional parties will be joined, nor is it likely that a motion

        for leave to join any additional parties will be filed.

5.      Rule 26(a)(1)(A) Initial Disclosures.

                The parties will make the disclosures required under Rule 26(a) by August 4, 2022

        in accordance with Rule 26(a)(1)(C).

6.      (a)     Discovery Subjects.

                 (1) Plaintiff Ross. Plaintiff Ross proposes that discovery be allowed as discovery

        was not conducted fairly and adequately during the arbitration period and documents were

        concealed or not produced by the defendant, and therefore need to be produced during

        discovery . Plaintiff needs the opportunity to depose witnesses, and to examine the process

        that took place during the arbitration, which are essential to proving Plaintiff’s claims. Any

        limitation on discovery would hamper Plaintiff in their effort s to prove their claims and

        defenses and would be unduly prejudicial. Plaintiff requests discovery through January

        15, 2023, to allow time for depositions.


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                (2) Union Defendants. The Union Defendants submit that all discovery beyond

       the exchange of Rule 26(a)(1) initial disclosures should be stayed pending the Court’s

       ruling on the Union Defendants’ Rule 12(b)(1) and (6) motion to dismiss filed on July 21,

       2022 (doc. 27) as this Court “lack[s] subject-matter jurisdiction” over all claims asserted

       by Plaintiff against the Union Defendants in his Complaint, and for failure to state a claim

       upon which relief can be granted. The motion to dismiss will be fully brief and ripe for

       decision no later than August 18, 2022 when the Union Defendants file their reply2 to any

       response Plaintiff may file by the August 11, 2022 due date for his response in opposition

       to dismissal. To allow discovery to proceed with regard to Plaintiff’s claims seeking to

       vacate the Arbitration Decision and Award over which this Court has no jurisdiction would

       be a waste of the parties and judicial resources. Upon dismissal of Plaintiff’s claims for

       lack or jurisdiction, discovery could then be allowed to proceed limited to the APFA’s

       counterclaim to enforce the Arbitrator’s Decision and Order, which discovery would be

       narrowly focused on facts relevant only to enforcement of the Arbitrator’s decision.

                The Union Defendants propose that discovery with respect to their counterclaim

       against Plaintiff and all other claims and defenses od the parties, if any, which remain

       pending after the Court’s ruling on the motion to dismiss close on December 15, 2022.

       With respect to the subjects, plan and schedule for that discovery, it is the Union

       Defendants’ position, pursuant to well settled precedents requiring, as a matter of law,

       judicial deference to and enforcement of the Arbitrator’s Decision and Order, that no



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  The Union Defendants intend to file a motion to stay discovery pending the Court’s ruling on
the motion to dismiss at the same time as they file their reply to Plaintiff’s response to the motion
to dismiss.


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   discovery regarding the merits of the Article VII charges against Plaintiff Ross is necessary

   or appropriate. Therefore, the Union Defendants will oppose any attempt to reopen the

   merits of the Article VII charges against Ross, including through discovery.

           The Union Defendants' position is that, to the extent discovery in this case is

   needed, that discovery should be limited and focused on those subjects relevant to the

   Union Defendants’ counterclaim for enforcement of the Arbitrator’s Decision and Order.

   As part of the remedy ordered by the Arbitrator, he directed APFA to obtain an audit of

   Ross’s records during his term of office as APFA National President, and ordered Ross to

   repay to APFA the amount of any charges deemed inappropriate by the auditor. (Decision

   and Order at 23.) Accordingly, as relevant to enforcement of the Arbitrator’s Decision and

   Order, limited discovery may therefore be required as necessary to complete the audit

   ordered by the Arbitrator in order to determine the amount of any improper charges by

   Ross. As stated above, the Union Defendants believe that this limited discovery can be

   completed on an expedited basis, but to allow sufficient time to complete the audit and any

   follow-up discovery the audit may reveal necessary, the Union Defendants request

   discovery extend through December 15, 2022.

           (3)    Defendant McGaughey. Defendant McGaughey proposes that discovery

   close on December 15, 2022.

   (b)    Discovery Completion Date:

           (1)   Plaintiff Ross. For the reasons stated in paragraph 6.(a)(1) above, Plaintiff

   requests discovery close on January 15, 2023.

           (2)   Union Defendants. For the reasons stated in paragraph 6.(a)(2) above, the

   Union Defendants request discovery close on December 15, 2022.


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                (3)    Defendant McGaughey. Defendant McGaughey proposes discovery close

        on December 15, 2022.

        (c)    Phased, Limited, or Focused Discovery:

               The parties agree that discovery does not need to be conducted in phases, but the

        parties differ on whether discovery should be stayed pending ruling on the Union

        Defendants’ motion to dismiss and whether discovery should be limited or focused:

               (1) Plaintiff Ross. Plaintiff Ross submits that for the reasons stated in paragraph

        6.(a)(1) above, discovery should not be limited or focused.

               (2)    Union Defendants. The Union Defendants submit, for the reasons explained

        in paragraph 6.(a)(2) above, that discovery should stayed pending the Court’s ruling on the

        motion to dismiss and should thereafter be limited only to those subjects relevant to the

        Union Defendants’ counterclaim for enforcement of the Arbitrator’s Decision and Order.

        As such, it is the position of the Union Defendants that any attempt to open discovery

        regarding the merits of the Article VII charges against Plaintiff Ross and the Arbitrator’s

        Decision and Order is neither necessary nor appropriate and the Union Defendants will

        oppose any such attempted discovery.

                (3)    Defendant McGaughey. Defendant McGaughey submits that discovery as

        to McGaughey be limited to those matters relevant to issues regarding the Fair Debt and

        Collection practices of Defendant McGaughey.

7.      Other Changes or Limitations on Discovery Imposed by the Federal or Local Rules.

               A.      Plaintiff’s Position: For the reasons stated in paragraph 6.(a)(1) above,

        Plaintiff Ross does not believe that any changes or limitations on discovery need to be

        made as imposed by federal or local rule.


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                 B.       Union Defendants’ Position:       For the reasons set forth in paragraphs

         6.(a)(2) and (c)(2) above, the Union Defendants submit that discovery should be stayed

         pending the Court’s ruling on the motion to dismiss and should thereafter be limited only

         to subjects relevant to the Union Defendants’ counterclaim for enforcement of the

         Arbitrator’s Decision and Order and that discovery regarding the merits of the Article VII

         charges against Plaintiff Ross or the Arbitrator’s Decision and Order is subject to objection

         and should not be permitted as being neither relevant or as reasonably calculated to lead to

         the discovery of admissible evidence.

                 C.       Defendant McGaughey’s Position: Defendant McGaughey submits that

         discovery be limited to those matters relevant to issues regarding fair debt collection

         practices of Defendant.

8.       Other Orders under Rules 26(c),16(b), or 16(c).

                 The parties are not aware of the necessity of any other orders under Rule 16 (a) or

         (c) or 26 (c).

9.       Jury Demand.

                 This is a non-jury case.

10.      Referral to Magistrate Judge.

                 The parties do not consent to try this case before a U.S. Magistrate.

11.      (a)     Settlement assessment.

                 The parties agree that the prospects for settlement are unlikely; however, all parties

         are open to discussion of all options to resolve this case.

         (b)     Settlement negotiation status.




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            (1)   Plaintiff Ross. Plaintiff Ross submits that they are open to mediation after

    adequate time for discovery has passed. They are open to settlement discussions at any

    time.

            (2)     Union Defendants. The Union Defendants submit that no meaningful

    progress has been made toward settlement. The Union Defendants were not parties to the

    arbitration proceeding at issue and have no power or authority to agree to alter or amend

    the terms of the Arbitrator’s Decision and Order. Therefore, the terms of any possible

    settlement of this case to which the Union Defendants could agree are constrained by and

    must be consistent with the terms of the Arbitrator’s Decision and Order. Ross has failed

    and refused to comply with the Arbitrator’s Decision and Order that he 1) repay to APFA

    a $5,436.47 overpayment; 2) repay to APFA $8,106.13 for leasing an apartment at the Bear

    Creek Complex where he had no intention of occupying; 3) repay to APFA all of the

    Arbitrator’s fee; and 4) repay to APFA $3,637.00 for all of the furniture he had purchased

    and delivered to his residence located in South Lake, Texas. (Arbitrator’s Decision and

    Order at 23-24.) As long as Ross continues to fail and refuse to comply with the Arbitrator’s

    Decision and Order, a settlement of this case to which the Union Defendants could agree

    is unlikely, if not impossible. That said, the Union Defendants have been and remain open

    to discussing with Plaintiff Ross an agreed resolution of this case which is consistent with

    the Arbitrator's Decision and Order, fulfills all of APFA’s obligations as ordered by the

    Arbitrator in his Decision and Order, and which achieves Plaintiff’s full compliance with

    the terms of the Arbitrator’s Decision and Order. While the Union Defendants stand ready

    to enter into such further discussions with Ross immediately, if a specific date is required

    for such further settlement discussions, the Union Defendants propose they take place


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    beginning on the first date all parties are available after the Court issues a scheduling order

    in this case or within the time period specified in paragraph 11.(c) below.

             (3)       Defendant McGaughey. Defendant McGaughey submits that it is open to

    mediation after adequate time for discovery has passed. It is open to settlement discussions

    at any time.

              (c)      Settlement conference date.

             The parties and their counsel have been unable to date to agree on a specific date

     to meet face-to-face to discuss settlement, but will continue to confer for the purpose of

     agreeing on a date for the conference.

             Plaintiff Ross made the proposal today to schedule the settlement conference for

     either October 7 or 14.

             The Union Defendants had proposed at the Status Conference two dates in late

     July which were not agreed to by Plaintiff. The Union Defendants subsequently proposed

     either September 21 or 22 for the settlement conference at APFA’s offices, but Plaintiff

     has not agreed to either of those dates. Plaintiff’s proposal to meet on October 7 or 14,

     having only been communicated today to counsel for the Union Defendants, cannot be

     confirmed by the Union Defendants as to their availability on those dates before the filing

     of this report.

             Defendant McGaughey and their counsel have indicated they will make

     themselves available for the settlement conference on whatever date, place and time that

     the Union Defendants and Plaintiff agree.




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12.    Mediation.

               (1)     Plaintiff Ross: Plaintiff Ross submits that mediation is appropriate in this

       matter after the close of discovery.

               (2)      Union Defendants. The Union Defendants submit that this case is not

       amenable to mediation because the matters in dispute have already been subject to

       arbitration and the sole issue in this case is whether the Arbitrator’s Decision and Order

       should be enforced, such that mediation would not be effective to achieve resolution of this

       case.

               (3)     Defendant McGaughey. Defendant McGaughey submits that mediation is

       appropriate in this matter after the close of discovery.

13.    Dondi decision:

               Counsel for all parties affirm that they have read this Court’s Dondi decision.

14.    Any other matters relevant to the status and disposition of this case.

               None.

Date: August 3, 2022                          Respectfully Submitted


                                                /s/ Heather Abreu
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                                             Counsel for Defendant McGaughey, Reber and
                                             Associates, Inc.



                                CERTIFICATE OF SERVICE

       I certify that on August 3, 2022, a true and correct copy of the foregoing document was

served on counsel of record for all parties via the Court’s ECF system.

DATED: August 3, 2022                                 /s/ Sanford R. Denison
                                                    Sanford R. Denison




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